    Case 2:14-cr-00021-RMP            ECF No. 2003         filed 10/07/16     PageID.10785 Page 1 of 2
 PROB 12C                                                                            Report Date: October 7, 2016
(6/16)

                                       United States District Court                                     FILED IN THE
                                                                                                    U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON

                                                      for the
                                                                                                Oct 07, 2016
                                        Eastern District of Washington                             SEAN F. MCAVOY, CLERK




                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Vonderick Noble                          Case Number: 0980 2:14CR00021-RMP-9
 Address of Offender:                                  , Spokane, Washington 99207
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U. S. District Judge
 Date of Original Sentence: April 23, 2015
 Original Offense:        Conspiracy to Possess with Intent to Distribute a Controlled Substance, Oxycodone
                          Hydrochloride, 21 U.S.C. § 841(a)(1)
 Original Sentence:       Prison - 18 months                Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Aine Ahmed                        Date Supervision Commenced: September 16, 2016
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: September 15, 2019


                                         PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On October 2, 2016, Mr. Noble violated his conditions of supervised
                        release in Spokane, Washington, by allegedly committing the following crimes: malicious
                        mischief domestic violence, and interfering with the reporting of a domestic violence, case
                        number 16-369196. The incident report indicates there is probable cause to arrest Mr. Noble
                        for the aforementioned charges.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.
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Re: Noble, Vonderick
October 7, 2016
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                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                    Executed on:     October 7, 2016
                                                                     s/Corey M. McCain
                                                                     Corey M. McCain
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [X ]     The Issuance of a Summons
 [ ]      Other

                                                                     Signature of Judicial Officer
                                                                            10/7/2016

                                                                     Date
